                                 Case 18-25221-MAM                                 Doc 14              Filed 01/15/19                     Page 1 of 11


 Fill in this information to identify your case:
 Debtor 1                Kathleen                      Mika                          Walas
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 Case number             18-25221-MAM                                                                                                                     Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $450,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                           $2,884.39
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $452,884.39
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $635,627.84
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $38,917.41
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $674,545.25




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $1,174.00
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $1,885.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
                           Case 18-25221-MAM                    Doc 14         Filed 01/15/19           Page 2 of 11


Debtor 1      Kathleen Mika Walas                                                          Case number (if known)     18-25221-MAM


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $0.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                              Case 18-25221-MAM                   Doc 14           Filed 01/15/19           Page 3 of 11


  Fill in this information to identify your case:
  Debtor 1             Kathleen              Mika                   Walas
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

  Case number          18-25221-MAM                                                                                    Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $633,752.84             $450,000.00            $183,752.84
Nationstar Mortgage
Creditor's name
                                                 5510 N Ocean Dr # 16-B,
POB 650783                                       Singer Island, FL 33404
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Dallas                   TX      75265               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred                           Last 4 digits of account number        9     9    2    9




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $633,752.84

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
                             Case 18-25221-MAM                 Doc 14         Filed 01/15/19            Page 4 of 11


Debtor 1      Kathleen Mika Walas                                                         Case number (if known)      18-25221-MAM

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                              $1,875.00            $450,000.00         $1,875.00
Water Glades 300 Condominum Assn,5510
                                 Inc. N Ocean Dr # 16-B,
Creditor's name
Accounting Department, Inc.                   Singer Island, FL 33404
Number     Street
185 E Indiantown Rd # 124
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Jupiter                 FL      33477             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Association fees - Special Assessment
   to a community debt
Date debt was incurred                        Last 4 digits of account number
Added 1/15/19




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $1,875.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $635,627.84

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
                              Case 18-25221-MAM              Doc 14        Filed 01/15/19           Page 5 of 11


Debtor 1       Kathleen Mika Walas                                                     Case number (if known)    18-25221-MAM

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Becker & Poliakoff, P.A.                                               On which line in Part 1 did you enter the creditor?          2.2
        Name
        1 E Broward Blvd # 1800                                                Last 4 digits of account number
        Number       Street




        Fort Lauderdale                          FL      33301
        City                                     State   ZIP Code

  2
        Robertson, Anschutz & Schneid, P.L.                                    On which line in Part 1 did you enter the creditor?          2.1
        Name
        6409 Congress Ave # 100                                                Last 4 digits of account number        4    T    A      M
        Number       Street




        Boca Raton                               FL      33487
        City                                     State   ZIP Code

  3
        Water Glades 300 Condominium Assn, Inc.                                On which line in Part 1 did you enter the creditor?          2.2
        Name
        5544 N Ocean Dr                                                        Last 4 digits of account number
        Number       Street




        West Palm Beach                          FL      33404
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3
                             Case 18-25221-MAM                    Doc 14         Filed 01/15/19             Page 6 of 11


  Fill in this information to identify your case:
  Debtor 1             Kathleen              Mika                   Walas
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

  Case number          18-25221-MAM                                                                                     Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
                              Case 18-25221-MAM                    Doc 14          Filed 01/15/19             Page 7 of 11


Debtor 1       Kathleen Mika Walas                                                              Case number (if known)      18-25221-MAM

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $5,921.00
Ally Financial                                              Last 4 digits of account number         1 7        4     3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           04/2013
POB 380901
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Bloomington                     MN      55438
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Auto Repo
Is the claim subject to offset?
     No
     Yes
2013 Cadillac SRX Luxury 4D SUV FWD
VIN: 3GYFNCE36DS566379

     4.2                                                                                                                                        $14,823.00
Bank Of America                                             Last 4 digits of account number         9 2        3     4
Nonpriority Creditor's Name
                                                            When was the debt incurred?           03/1974
POB 982238
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
                              Case 18-25221-MAM                  Doc 14        Filed 01/15/19            Page 8 of 11


Debtor 1       Kathleen Mika Walas                                                          Case number (if known)       18-25221-MAM

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.3                                                                                                                                  $8,593.36
Michigan Department of Treasury                           Last 4 digits of account number       3    3    3    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?
City Tax Administration
Number        Street                                      As of the date you file, the claim is: Check all that apply.
POB 30741                                                     Contingent
                                                              Unliquidated
                                                              Disputed
Lansing                        MI      48909
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            State Taxes
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                  $9,580.05
Singh Management LLC                                      Last 4 digits of account number       8    3    9    C
Nonpriority Creditor's Name
                                                          When was the debt incurred?
POB 255005
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
West Bloomfield                MI      48325
City                           State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Apartment Lease
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
                           Case 18-25221-MAM                    Doc 14        Filed 01/15/19            Page 9 of 11


Debtor 1       Kathleen Mika Walas                                                        Case number (if known)     18-25221-MAM

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Andreu, Palma, Lavin & Solis PLLC                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
815 NE 57 Ave # 401                                         Line    4.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       1    9    7    6
Miami                           FL      33126
City                            State   ZIP Code


Central Credit Services LLC                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
20 Corporate Hills Dr                                       Line    4.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       1    1    1    4
Saint Charles                   MO      63301
City                            State   ZIP Code


Cidermill Village Apartments                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1515 Goldrush                                               Line    4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Rochester                       MI      48307
City                            State   ZIP Code


Michigan Department of Treasury                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Office of Collections                                       Line    4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
POB 30199                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Lansing                         MI      48909
City                            State   ZIP Code


Vital Recovery Services, LLC                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 923747                                                  Line    4.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    8    3    9
Peachtree Corners               GA      30010
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4
                         Case 18-25221-MAM                  Doc 14         Filed 01/15/19            Page 10 of 11


Debtor 1       Kathleen Mika Walas                                                     Case number (if known)        18-25221-MAM

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $38,917.41


                  6j.   Total.   Add lines 6f through 6i.                                            6j.             $38,917.41




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5
                          Case 18-25221-MAM               Doc 14         Filed 01/15/19          Page 11 of 11


 Fill in this information to identify your case:
 Debtor 1           Kathleen            Mika                 Walas
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 Case number        18-25221-MAM                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Kathleen Mika Walas                              X
        Kathleen Mika Walas, Debtor 1                          Signature of Debtor 2

        Date 01/15/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
